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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------------X
SEBASTIAN ABREU LOPEZ, individually and on behalf of all
others similarly situated,

                                                Plaintiff,                    NOTICE OF
                                                                              APPEARANCE
            -against-
                                                                              20-cv-705
M&V INTERNATIONAL FOOD INC. d/b/a FOOD PALACE, and
RAKHIL BESBROZZANNAYA, and MARINA
BESPROZVANNAYA, as individuals,

                                                Defendants.
----------------------------------------------------------------------X


     PLEASE TAKE NOTICE that HELEN F. DALTON & ASSOCIATES, P.C., attorneys for
     Plaintiff herein, add the undersigned as co-counsel of record for Plaintiff in this matter:
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     Dated: Kew Gardens, NY
            January 31, 2020

                                                             _/s/James O’Donnell_______________
                                                             James O’Donnell (JO 8042)
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